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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

SIGMA DEVELOPMENT           §
CORPORATION,                §
    Plaintiff,              §
                            §
v.                          §                      CIVIL ACTION NO. 4:16-cv-02555
                            §
TGP SECURITIES, INC., BORIS §
EPSHTEYN AND JAMES TAMMARO, §
     Defendants.            §
                            §
                  PARTIES’ STATEMENT REGARDING DISMISSAL

TO THE HONORABLE COURT:

       Pursuant to the Court’s Conditional Dismissal Order entered September 26, 2017

[ECF 48], this case was dismissed without prejudice to reinstatement if the settlement were

not documented before November 27, 2017.           The parties have drafted and exchanged

documentation of the settlement as referenced in the Court’s Order of September 26, 2017, but

such has yet to be fully executed, although it is believed that such execution is imminent.

Additionally, under the terms of that settlement, the parties agreed that, should the settlement

not be consummated by December 31, 2017, that the parties shall have the right to resume

litigation of their claims. Accordingly, the parties hereby give notice under the Conditional

Dismissal Order only to prevent the dismissal of this case from becoming final prior to

consummation of the settlement. Accordingly, the parties ask the Court to clarify that this

case shall remain subject to reinstatement if any party gives notice to the Court that the

settlement has not been consummated on or before January 8, 2018.



                        [Signature blocks appear on following page.]


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                                        Respectfully submitted,

                                        Azhar Chaudhary Law Firm, PC

                                        /s/ Alfred Valdez
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                                        and James Tammaro




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                                 CERTIFICATE OF SERVICE

       I hereby certify that I have electronically submitted for filing a true and correct copy of
the above via the CM/ECF of the Southern District of Texas, on 27 November 2017 to:

Christopher R Murray
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                                             /s/ Alfred Valdez
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